Case 1:12-cr-00133-SEB-TAB          Document 1743        Filed 09/19/16     Page 1 of 5 PageID #:
                                            7254



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )
        v.                                    )       Cause No. 1:12-cr-0133-SEB-TAB-26
                                              )
 JEREMY JOHNSON,                              )
                                              )
                       Defendant.             )

                Magistrate Judge’s Report and Recommendation

        This matter is before the undersigned according to the Order entered by the Honorable

 Sarah Evans Barker, directing the duty magistrate judge to conduct a hearing on the Petition for

 Warrant or Summons for Offender Under Supervision (“Petition”) filed on May 19, 2015, and

 the and to submit proposed Findings of Facts and Recommendations for disposition under 18

 U.S.C. §§ 3401(i) and 3583(e). Proceedings were held on September 1, 2016, in accordance

 with Rule 32.1 of the Federal Rules of Criminal Procedure.1

        On September 1, 2016, defendant Jeremy Johnson appeared in person with his appointed

 counsel, William Dazey. The government appeared by Will McCoskey, Assistant United States

 Attorney. The United States Probation Office (“USPO”) appeared by Officer Shelly McKee,

 who participated in the proceedings.




 1
        All proceedings were recorded by suitable sound recording equipment unless otherwise
 noted. See 18 U.S.C. § 3401(e).


                                                  1
Case 1:12-cr-00133-SEB-TAB           Document 1743           Filed 09/19/16     Page 2 of 5 PageID #:
                                             7255



        The court conducted the following procedures in accordance with Federal Rule of

 Criminal Procedure 32.1(a)(1) and 18 U.S.C. § 3583:

        1.      The court advised Mr. Johnson of his right to remain silent, his right to counsel,

 and his right to be advised of the charges against him. The court asked Mr. Johnson questions to

 ensure that he had the ability to understand the proceedings and his rights.

        2.      A copy of the Petition was provided to Mr. Johnson and his counsel, who

 informed the court they had reviewed the Petition and that Mr. Johnson understood the violations

 alleged. Mr. Johnson waived further reading of the Petition.

        3.      The court advised Mr. Johnson of his right to a preliminary hearing and its

 purpose in regard to the alleged violations of his supervised release specified in the Petition. Mr.

 Johnson was advised of the rights he would have at a preliminary hearing. Mr. Johnson stated

 that he wished to waive his right to a preliminary hearing.

        4.      Mr. Johnson stipulated that there is a basis in fact to hold him on the

 specifications of violations of supervised release as set forth in the Petition. Mr. Johnson

 executed a written waiver of the preliminary hearing, which the court accepted.

        5.      The court advised Mr. Johnson of his right to a hearing on the Petition and of his

 rights in connection with a hearing. The court specifically advised him that at a hearing, he

 would have the right to present evidence, to cross-examine any witnesses presented by the

 United States, and to question witnesses against him unless the court determined that the

 interests of justice did not require a witness to appear.

        6.      Mr. Johnson, by counsel, stipulated that he committed Violation Number 2, set

 forth in the Petition as follows:




                                                   2
Case 1:12-cr-00133-SEB-TAB           Document 1743        Filed 09/19/16     Page 3 of 5 PageID #:
                                             7256



        Violation
        Number           Nature of Noncompliance

              2          “The defendant shall refrain from any unlawful use of a controlled
                         substance.”

                         As previously reported to the Court, on January 15, 2016, the offender
                         provided a urine specimen which tested positive for amphetamine. He
                         admitted using methamphetamine. On April 4, and 22, 2016, the offender
                         provided urine specimens which tested positive for Opiates and cocaine,
                         respectively. The offender admitted using heroin and cocaine on separate
                         occasions.

        7.        The court placed Mr. Johnson under oath and directly inquired of Mr. Johnson

 whether he admitted violations 2 of his supervised release set forth above. Mr. Alexander

 admitted the violation as set forth above.

        8.        The Government orally moved to dismiss violations 1 and 4, and the court granted

 the motion.

        9.        The parties and the USPO further stipulated that:

                  (a)    The highest grade of Violation (Violation 2) is a Grade B violation
                         (U.S.S.G. § 7B1.1(a)(2)).

                  (b)    Mr. Johnson’s criminal history category is VI.

                  (c)    The range of imprisonment applicable upon revocation of Mr. Alexander’s
                         supervised release, therefore, is 21 - 24 months’ imprisonment. (See
                         U.S.S.G. § 7B1.4(a).)

        11.       The parties jointly recommended a sentence of 15 months in the Federal Bureau

 of Prisons with no supervised release to follow. Defendant orally moved the court to recommend

 placement at FCI Terre Haute.

        The court, having heard the admissions of the defendant, the stipulations of the parties,

 and the arguments and position of each party and the USPO, NOW FINDS that the defendant,

 JEREMY JOHNSON, violated the above-specified conditions in the Petition and that his



                                                   3
Case 1:12-cr-00133-SEB-TAB         Document 1743         Filed 09/19/16     Page 4 of 5 PageID #:
                                           7257



 supervised release should be and therefore is REVOKED, and he is sentenced to the custody of

 the Attorney General or her designee for a period of fifteen (15) months with no supervised

 release to follow. The defendant is to be taken into immediate custody pending the district

 court’s action on this Report and Recommendation.

        Counsel for the parties and Mr. Johnson stipulated in open court waiver of the following:

        1. Notice of the filing of the Magistrate Judge=s Report and Recommendation;

        2. Objection to the Report and Recommendation of the undersigned Magistrate Judge

 pursuant to Title 28 U.S.C. '636(b)(1)(B) and (C); and, Federal Rules of Criminal Procedure

 59(b)(2).

        Counsel for the parties and Mr. Johnson entered the above stipulations and waivers after

 being notified by the undersigned Magistrate Judge that the District Court may refuse to accept

 the stipulations and waivers and conduct a revocation hearing pursuant to Title 18 U.S.C. '3561

 et seq. and Rule 32.1 of the Federal Rules of Criminal Procedure and may reconsider the

 Magistrate Judge=s Report and Recommendation, including making a de novo determination of

 any portion of the Report or specified proposed findings or recommendation upon which she

 may reconsider.

        WHEREFORE, the magistrate judge RECOMMENDS the court adopt the above

 recommendation revoking Mr. Johnson’s supervised release, imposing a sentence of

 imprisonment of fifteen (15) months with no supervised release to follow. The defendant is to

 be taken into immediate custody pending the district court’s action on this Report and

 Recommendation. The court will recommend placement at FCI Terre Haute.

        IT IS SO RECOMMENDED.
                                                     ____________________________________
                 9/19/16                                Debra McVicker Lynch
        Date: ____________________                      United States Magistrate Judge
                                                        Southern District of Indiana
                                                 4
Case 1:12-cr-00133-SEB-TAB         Document 1743         Filed 09/19/16   Page 5 of 5 PageID #:
                                           7258



 Distribution:

 All ECF-registered counsel of record via email generated by the court’s ECF system

 United States Probation Office, United States Marshal




                                                5
